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  1   Eve H. Cervantez (SBN 164709)
      ecervantez@altshulerberzon.com
  2   Danielle E. Leonard (SBN 218201)
      dleonard@alshulerberzon.com
  3   ALTSHULER BERZON LLP
      177 Post Street, Suite 300
  4   San Francisco, California 94108
  5   Telephone: (415) 421-7151
      Facsimile: (415) 362-8064
  6
      Matthew J. Matern (SBN 159798)
  7   mmatern@maternlawgroup.com
  8   Dalia R. Khalili (SBN 253840)
      dkhalili@maternlawgroup.com
  9   MATERN LAW GROUP, PC
      1230 Rosecrans Avenue, Suite 200
 10   Manhattan Beach, California 90266
      Telephone: (310) 531-1900
 11   Facsimile: (310) 531-1901
 12
      Attorneys for Plaintiffs and the Proposed Class
 13
      [Additional Counsel on Following Page]
 14
 15                        UNITED STATES DISTRICT COURT
 16                       CENTRAL DISTRICT OF CALIFORNIA
                                 EASTERN DIVISION
 17
 18   DOUG YAUNEY, individually on              Case No. 5:22-cv-1769-WLH-SHK
      behalf of himself and all others
 19   similarly situated,                       MEMORANDUM OF POINTS &
                                                AUTHORITIES IN SUPPORT OF
 20                Plaintiff,                   PLAINTIFF’S MOTION FOR
 21                                             LEAVE TO CONDUCT LIMITED
             v.                                 DISCOVERY
 22
      HCI, LLC,                                 JURY DEMANDED
 23
 24                Defendant.                   Date: August 18, 2023
                                                Time: 1:00 p.m.
 25                                             Location: 350 W. 1st Street, Courtroom
                                                9B, 9th Floor, Los Angeles, CA 90012
 26
                                                Judge Wesley L. Hsu
 27                                             Magistrate Judge Shashi H. Kewalramani
 28
                                         -1-
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  1   J. Gerard Stranch, IV, pro hac vice
  2   gstranch@stranchlaw.com
      STRANCH, JENNINGS & GARVEY, PLLC
  3   223 Rosa L. Parks Avenue, Suite 200
  4   Nashville, Tennessee 37203
      Telephone: (615) 254-8801
  5
  6   Lynn A. Toops, pro hac vice
      ltoops@cohenandmalad.com
  7   Amina A. Thomas, pro hac vice
  8   athomas@cohenandmalad.com
      COHEN & MALAD, LLP
  9   One Indiana Square, Suite 1400
 10   Indianapolis, Indiana 46204
      Telephone: (317) 636-6481
 11
 12   Samuel Strauss*
      Sam@turkestrauss.com
 13   Raina C. Borrelli, pro hac vice
 14   Raina@turkestrauss.com
      TURKE & STRAUSS, LLP
 15   613 Williamson Street, Suite 201
 16   Madison, WI 53703
      Telephone: (608) 237-1775
 17
 18   Attorneys for Plaintiffs and the Proposed Class
 19   *pro hac vice application forthcoming
 20
 21
 22
 23
 24
 25
 26
 27
 28

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  1              I.    INTRODUCTION
  2          On October 7, 2022, Plaintiff Doug Yauney brought this class action suit
  3 against HCI, LLC (“HCI” or “Defendant”), alleging violations of the Worker
  4 Adjustment and Retraining Notification Act, 29 U.S.C. § 2101–09, et seq. (“WARN
  5 Act”), and/or the California Worker Adjustment and Retraining Notification Act, Cal.
  6 Lab. Code § 1400, et seq. (“California WARN Act”). To date and despite being
  7 properly served, HCI has failed to appear, answer, or otherwise respond to the
  8 Complaint, thus denying Plaintiff the opportunity for discovery through traditional
  9 means. To present the Court with a more complete record on its motion for class
 10 certification and default judgment, Plaintiff needs evidence regarding the scope of
 11 Defendants’ unlawful activities, the size of the class, potentially involved third
 12 parties, class wide damages, and the assets Defendant possesses. Additionally,
 13 Plaintiff believes that HCI assigned all of its assets to a third-party entity, Armory
 14 Consulting Co., on the same day that all employees were terminated, and seeks
 15 discovery from that third-party entity. Because Defendant has refused to appear in
 16 this action, Plaintiff requests leave to serve limited discovery requests upon HCI
 17 and/or Armory Consulting.1
 18              II.   BACKGROUND
 19          Defendant HCI is a company incorporated and existing under the laws of
 20 California that provides telecommunication services. (Dkt. 1, Compl., PageID 3,
 21 ¶¶ 9–10). On or about August 9, 2022, HCI summarily terminated at least 50 of the
 22 150 of its employees, including Plaintiff. (Id. at PageID 4, ¶ 11). HCI never notified
 23 the employees before that time of their imminent termination, nor did it provide any
 24 prior notice of the closure to the State of California, any entity designated by the State
 25 of California to carry out rapid response activities, the State of California Economic
 26 Development Department, or the chief elected official of the City or County of
 27
      1
        Defendants have refused to respond to reasonable efforts to meet and confer
 28    regarding the substance of this Motion pursuant to Local Rule 7-3. See Declaration
       of J. Gerard Stranch, IV, filed herewith.
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  1 Riverside. (Id. at PageID 4, ¶¶ 12–13).
  2          Plaintiff filed this Class Action Complaint on October 7, 2022, alleging
  3 violations of the WARN Act and California WARN Act. (See generally id.).
  4 Specifically, Plaintiff avers that Defendant failed to provide the employees, who were
  5 terminated on or around August 9, 2022, including himself, with proper notice as
  6 required under the WARN Act and California WARN Act. (Id. at PageID 5, ¶ 16).
  7 Defendant had no reasonable grounds or basis for believing that the mass layoff it
  8 ordered was not in violation of the notice requirements under the statutes. (Id.).
  9 Defendant is liable to the employees for 60 days’ worth of wages as damages. (Id. at
 10 PageID 8, ¶¶ 29-33 (Federal WARN Act); PageID 9 ¶¶ 39-44 (California WARN
 11 Act)).
 12          On or about November 15, 2022, Plaintiff attempted to effectuate service by
 13 attempting to serve Defendant HCI’s registered agent for service of process in
 14 California, George Blanco. (Dkt. 26, Proof of Service, PageID 79). Those attempts,
 15 however, were unsuccessful because the agent’s office is closed and empty. (Id.). On
 16 December 2, 2022, Plaintiffs, consistent with Federal Rule of Civil Procedure 4(h),
 17 California Code of Civil Procedure section 415.10 (personal service), and section
 18 416.10(b) (service of corporation through corporate officer), effectuated service by
 19 personal service on Defendant’s corporate manager Simon Wachsberg in Houston,
 20 Texas. (Id. at PageID 81-83). Mr. Wachsberg is a person through whom service on
 21 this corporation can be effectuated under California Code of Civil Procedure section
 22 416.10(b) because he was listed on Defendant HCI’s most recent Statement of
 23 Information filed with the California Secretary of State. (Id. at PageID 85-86
 24 (Defendant HCI’s most recent Statement of Information filed with California
 25 Secretary of State, listing Simon Wachsberg as a corporate manager). To date, HCI
 26 has failed to appear, respond, or contact Plaintiff’s counsel. Consequently, pursuant
 27 to Plaintiff’s request, on February 23, 2023, the Clerk of Court entered default against
 28 HCI. (Dkt. 28, Default by Clerk, PageID 98).
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  1          Following entry of default and service of the documents pertaining thereto on
  2 Mr. Wachsberg, Mr. Wachsberg contacted Plaintiff’s counsel to inform them that
  3 Defendant HCI executed a General Assignment for the benefit of their creditors to
  4 Armory Consulting Co. (See Decl. of J. Gerard Stranch, IV, Ex. 1: Notice of
  5 Assignment for the Benefit of the Creditors and Deadline to Submit Claims, August
  6 25, 2022).
  7              III.   ANALYSIS
  8          Courts allow plaintiffs to seek discovery from a defaulting defendant—or a
  9 third party associated with a defaulting defendant—upon a show of good cause.
 10 Plaintiff, here, meets that standard because the evidence he seeks is directly relevant
 11 to properly establish class certification, determine damages, and discern what assets
 12 Defendant possesses.
 13      A. The Court may permit limited discovery for good cause, including to seek
 14         information needed to move for class certification and default judgment.
 15          In general, “[a] party may not seek discovery from any source before the
 16 parties have conferred as required by Rule 26(f) . . . or when authorized by these
 17 rules, by stipulation, or by court order.” Fed. R. Civ. P. 26(d)(1) (emphasis added).
 18 Courts in the Ninth Circuit employ a “good cause” standard to determine whether to
 19 permit discovery prior to the Rule 26(f) conference. See, e.g., Twitch Interactive, Inc.
 20 v. Johnston, 2017 WL 1133520, at *2 (N.D. Cal. Mar. 27, 2017) (adopting good cause
 21 standard).
 22          “Good cause may be found where the need for expedited discovery, in
 23 consideration of the administration of justice, outweighs the prejudice to the
 24 responding party.” Id. at *3. “The court must perform this evaluation in light of ‘the
 25 entirety of the record to date and the reasonableness of the request in light of all the
 26 surrounding circumstances.’” Assef, et al. v. Does 1-10, 2015 WL 3430241, at *2
 27 (N.D. Cal. May 28, 2015). “If good cause is shown, early discovery may be ordered,
 28 even where a defendant has failed to appear.” Tex. Guar. Student Loan Corp. v.
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  1 Dhindsa, 2010 WL 2353520, at *2-3 (E.D. Cal. June 9, 2010) (finding good cause to
  2 seek discovery from a defaulting defendant because the defendant was “the only
  3 person who had the wage information required to calculate Plaintiff’s damages”); see
  4 also Antione v. Bouette, 2016 WL 6138252, at *2, *4 (M.D. La. Oct. 20, 2016)
  5 (finding good cause to seek discovery from third parties associated with defendant
  6 because plaintiff bore the burden of showing damages and defendant’s failure to
  7 appear “deprived Plaintiff of the ability to issue discovery to Defendant in order to
  8 obtain information relating to damages suffered by Plaintiff”).
  9          Courts find good cause to permit discovery when a plaintiff is precluded from
 10 establishing class certification because of a defendant’s default. Because “entry of
 11 default does not alter the Court’s analysis for class certification,” Whitaker v. Bennett
 12 Law, PLLC, No. 13-cv-3145-L NLS, 2014 WL 5454398, at *3 (S.D. Cal. Oct. 27,
 13 2014), certification under Rule 23 remains a necessary procedural requirement for
 14 the class to recover damages from a defaulting defendant. The prerequisites imposed
 15 by Rule 23 serve “the important function of protecting absent class members whose
 16 rights may be affected by the class certification.” Davis v. Hutchins, 321 F.3d 641,
 17 649 (7th Cir. 2003) (citing Davis v. Romney, 490 U.S. F.2d 1360, 1366 (3d Cir.
 18 1974)). So, “relief cannot be granted to a class before an order has been entered
 19 determining that class treatment is proper.” Romney, 490 F.2d at 1366. In the context
 20 of a defaulting defendant, without proper certification of a class, a court’s authority
 21 is limited to entering a default judgment in favor of only the individually named
 22 Plaintiff. See Partington v. Am. Int’l Specialty Lines Ins. Co., 443 F.3d 334, 340 (4th
 23 Cir. 2006). To facilitate class certification in this circumstance, then, courts permit
 24 plaintiffs, following entry of default, to pursue limited discovery related to facts
 25 needed to establish class certification. See, e.g., Fisher v. TheVegasPackage.com,
 26 Inc., 2021 WL 1318315, at *5 (D. Nev. Apr. 8, 2021) (granting plaintiff leave to
 27 conduct “limited discovery [against defaulted defendant] . . . to establish a notice
 28 plan, ascertain individual class members, determine class-wide damages, and identify
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  1 the assets that defendants possess”); Yarger v. Fresh Farms, LLC, 2020 WL
  2 4673229, at *9 (D. Kan. Aug. 12, 2020) (“Plaintiff’s request for leave to conduct
  3 discovery prior to the entry of a final default judgment is well-taken.”); Eder v. Aspen
  4 Home Improvements Inc., 2020 WL 6870851, at *1-2 (M.D. Fla. Oct. 2, 2020)
  5 (granting Plaintiff leave to conduct discovery related to default class certification and
  6 damages).
  7          Courts also permit discovery to ascertain damages because, upon entry of
  8 default, Plaintiff’s “well-pleaded allegations regarding liability are taken as true
  9 except as to the amount of damages.” Garvin v. Tran, No. C07-01571 HRL, 2011
 10 WL 5574864, at *2 (N.D. Cal. Nov. 16, 2011).
 11      B. Plaintiff has good cause to seek discovery from HCI and/or Armory
 12         Consulting to establish class certification and damages.
 13          Plaintiff requires factual evidence to support his motion for class certification,
 14 to assess a third-party’s potential liability and role in this matter, and to ascertain
 15 class members’ damages. As to the class certification analysis, Plaintiff can establish
 16 commonality, typicality, and adequacy—from Federal Rule of Civil Procedure
 17 23(a)—largely based on the uncontested allegations to the complaint. To establish
 18 numerosity, however, Plaintiff needs evidence to establish the total number of
 19 employees terminated in the layoff. The number of employees terminated is also
 20 relevant to calculating damages, and Plaintiff also requires information regarding
 21 class members’ pay rates to calculate individualized WARN Act damages. Plaintiff
 22 reasonably believes that HCI has that information.
 23          In addition, Plaintiff seeks discovery as to these issues from Armory
 24 Consulting, the entity to which HCI assigned its assets. Plaintiff believes that Armory
 25 Consulting may be in possession of the information he requires, in addition to
 26 information concerning any remaining assets of HCI. And to the extent that Armory
 27 Consulting was involved in the decision to lay off the workers without giving proper
 28 notice under the federal and California WARN Acts, Plaintiff seeks discovery from
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  1 Armory Consulting to assess that entity’s liability.
  2           Because HCI has refused to appear in this matter, Plaintiff does not know, and
  3 without discovery, cannot present concrete evidence of the total number of employees
  4 in the class, their wage rates to compute damages, or Armory Consulting’s role in the
  5 transgressions (if any). Thus, Plaintiff’s interest in obtaining discovery for class
  6 certification, to calculate damages, and to protect the workers’ interest in light of
  7 Defendant’s failure/refusal to appear and other involved entities, constitutes good
  8 cause to conduct limited discovery. HCI and possibly Armory Consulting remain the
  9 only entities that plausibly have the “information . . . required to calculate Plaintiff’s
 10 damages,” Dhindsa, 2010 WL 2353520, at *3, as well as to understand the number
 11 of employees affected, Antione, 2016 WL 6138252, at *2. Of course, Plaintiff cannot
 12 obtain this evidence through traditional discovery because Defendant has refused to
 13 participate in this action. Antione, 2016 WL 6138252, at *2 (recognizing plaintiff
 14 “has been precluded from engaging in a Rule 26(f) conference and initiating
 15 discovery” from defendant’s failure to appear). Limited discovery, then, is the only
 16 means by which Plaintiff can secure the information he requires to proceed in this
 17 action.
 18           This type of relief, as noted in Section II.A., supra, has been granted by other
 19 courts in similar circumstances. In Whitaker, for example, the court granted leave to
 20 conduct discovery in support of a motion for class certification under similar
 21 circumstances (in a TCPA case, after a default was entered but before default
 22 judgment). 2014 WL 5454398, at *3. Likewise, in Turner v. Coyote’s on the
 23 Boulevard, Inc., Case No. 08-61072-CIV-MARRA, 2009 WL 10667068, at *1 (S.D.
 24 Fla. June 12, 2009), the court found good cause to grant leave for discovery,
 25 recognizing that “Plaintiff cannot, without discovery, attempt to demonstrate the
 26 elements for certification of the class.” The relief Plaintiff seeks in this motion is well
 27 supported and warranted here.
 28           Finally, Plaintiff’s discovery requests are narrowly tailored. See Am.
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  1 LegalNet, Inc. v. Davis, 673 F. Supp. 2d 1063, 1067 (C.D. Cal. 2009) (considering
  2 the breadth of plaintiff’s discovery requests as a factor to consider when ruling on a
  3 motion for expedited discovery). Plaintiff seeks specific information that is only
  4 relevant to his motion for class certification, a third-party’s potential liability, class
  5 members’ damages, and Defendant’s assets.
  6             IV.    CONCLUSION
  7          Plaintiff has shown good cause to conduct limited discovery. Without the
  8 requested discovery, Plaintiff will be unable to present a complete picture of
  9 Defendant’s unlawful activities for class certification, provide direct evidence of the
 10 damages, discern other appropriate parties to this action, or what assets remain for
 11 Plaintiff’s to recover damages. Plaintiff’s requests are narrow and reasonably tailored
 12 to lead to relevant evidence. Therefore, the Court should grant Plaintiff’s motion for
 13 limited discovery.
 14                                           Respectfully submitted,
 15
 16   DATED: June 23, 2023                    By: /s
 17                                           J. Gerard Stranch, IV, pro hac vice
                                              gstranch@stranchlaw.com
 18                                           STRANCH, JENNINGS & GARVEY,
 19                                           PLLC
                                              223 Rosa L. Parks Avenue, Suite 200
 20                                           Nashville, Tennessee 37203
 21                                           Telephone: (615) 254-8801
 22                                           Eve H. Cervantez (SBN 164709)
 23                                           ecervantez@altshulerberzon.com
                                              Danielle E. Leonard (SBN 218201)
 24                                           dleonard@alshulerberzon.com
 25                                           ALTSHULER BERZON LLP
                                              177 Post Street, Suite 300
 26                                           San Francisco, California 94108
 27                                           Telephone: (415) 421-7151
                                              Facsimile: (415) 362-8064
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  1                                     Matthew J. Matern (SBN 159798)
                                        mmatern@maternlawgroup.com
  2                                     Dalia R. Khalili (SBN 253840)
  3                                     dkhalili@maternlawgroup.com
                                        MATERN LAW GROUP, PC
  4                                     1230 Rosecrans Avenue, Suite 200
  5                                     Manhattan Beach, California 90266
                                        Telephone: (310) 531-1900
  6                                     Facsimile: (310) 531-1901
  7
                                        Lynn A. Toops, pro hac vice
  8                                     ltoops@cohenandmalad.com
  9                                     Amina A. Thomas, pro hac vice
                                        athomas@cohenandmalad.com
 10                                     COHEN & MALAD, LLP
 11                                     One Indiana Square, Suite 1400
                                        Indianapolis, Indiana 46204
 12                                     Telephone: (317) 636-6481
 13
                                        Samuel Strauss*
 14                                     Sam@turkestrauss.com
 15                                     Raina C. Borrelli, pro hac vice
                                        Raina@turkestrauss.com
 16                                     TURKE & STRAUSS, LLP
 17                                     613 Williamson Street, Suite 201
                                        Madison, WI 53703
 18                                     Telephone: (608) 237-1775
 19
                                        Attorneys for Plaintiff
 20
 21                                     *pro hac vice application forthcoming

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  1                            CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that the foregoing has been served via First-
      Class United States mail on the 23rd_day of June 2023, to:
  3
                                      HCI, LLC
  4                                   c/o Simon Wachsberg
                                      10811 Bridlewood St.
  5                                   Houston, TX 77024-5414
  6
                                           /s/_________________
  7                                         J. Gerard Stranch, IV
  8
  9                          CERTIFICATE OF COMPLIANCE
 10          The undersigned, counsel of record for Plaintiff Doug Yauney, certifies that
      this brief contains 2114 words, which complies with the word limit of L.R. 11-6.1.
 11
      Dated: June 23, 2023                  /s/_________________
 12                                         J. Gerard Stranch, IV
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